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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

FRANK GINAC,                      §
                                  §
     Plaintiff,                   §
                                  §
V.                                §
                                  §
EDWARD WOLFF & ASSOCIATES, LLC, §                     CIVIL ACTION NO. 1:22-CV-704-LY
CERTA PROPAINTERS LTD. D/B/A/     §
CERTAPRO PAINTERS D/B/A/ CERTAPRO §
PAINTERS OF AUSTIN, AND JOHN      §
BUNNELL PAINTING, LLC.,           §
                                  §
     Defendants.                  §

 DEFENDANTS CERTA PROPAINTERS LTD. D/B/A/ CERTAPRO PAINTERS D/B/A/
   CERTAPRO PAINTERS OF AUSTIN, AND JOHN BUNNELL PAINTING, LLC.
           ORIGINAL ANSWER and AFFIRMATIVE DEFENSES

       COMES NOW Defendants CERTA PROPAINTERS LTD. D/B/A/ CERTAPRO

PAINTERS D/B/A/ CERTAPRO PAINTERS OF AUSTIN (hereinafter “CERTA PRO”) and

JOHN BUNNELL PAINTING, LLC. (hereinafter “BUNNELL”) by and through their

undersigned counsel, and for their Answer to Plaintiff’s Original Complaint, state:

                      INTRODUCTION/PRELIMINARY STATEMENT

       1.       Plaintiff’s statement concerning the Fair Debt Collection Practices Act is a legal

conclusion to which no response is necessary. Certa Pro and Bunnell deny violating the Fair Debt

Collection Practices Act.

       2.       Plaintiff’s statement concerning the Fair Debt Collection Practices Act is a legal

conclusion to which no response is necessary. Certa Pro and Bunnell deny violating the Fair Debt

Collection Practices Act.

       3.       Plaintiff’s statement concerning the Texas Deceptive Trade Practices Act (“DTPA)
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is a legal conclusion to which no response is necessary. Certa Pro and Bunnell deny violating the

DTPA.

                                  JURISDICTION AND VENUE

      4.         Certa Pro and Bunnell deny that Plaintiff has asserted claims or sufficient facts

regarding a “class action” lawsuit. Plaintiff’s allegations concerning subject-matter jurisdiction

state a legal conclusion to which no response is necessary.

      5.         Plaintiff’s allegations concerning venue state a legal conclusion to which no

response is necessary.

                                   NATURE OF THE ACTION

        6.       Admit that Plaintiff appears to assert an action under the Fair Debt Collections

Practices Act (FDCPA) against Defendant Edward Wolff.

        7.       Admit that Plaintiff appears to assert a claim under the DTPA against Certa Pro and

Bunnell.

        8.       Admit that Plaintiff appears to seek damages under the FDCPA and TDCA from

Defendant Edward Wolff.

        9.       Admit that Plaintiff appears to seek damages under the DTPA and Texas Property

Code (TPC) from Defendants Certa Pro and Bunnell.

                                             PARTIES

        10.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 10 of

Plaintiff’s Complaint.

        11.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 11 of

Plaintiff’s Complaint.

        12.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 12 of
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Plaintiff’s Complaint.

       13.      Certa Pro and Bunnell admit that Plaintiff owed a debt for painting services

rendered.

       14.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 14 of

Plaintiff’s Complaint but admit that Plaintiff is a natural person who owes a debt for painting

services rendered.

       15.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 15 of

Plaintiff’s Complaint but admit that Plaintiff owes a debt for painting services rendered.

       16.      Plaintiff’s statement as to whether or not he is a “consumer” for the purposes of the

DTPA is a legal conclusion to which no response is necessary.

       Defendant Edward Wolff & Associates LLC

       17.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 17 of

Plaintiff’s Complaint.

       18.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 18 of

Plaintiff’s Complaint.

       19.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 19 of

Plaintiff’s Complaint.

       20.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 20 of

Plaintiff’s Complaint.

       21.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 14 of

Plaintiff’s Complaint.

       22.      Certa Pro and Bunnell have insufficient information to admit or deny ¶ 14 of

Plaintiff’s Complaint.
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        Defendant Certa ProPainters LTD

        23.     Deny; Certa ProPainters Ltd. is a franchisor of independently owned and operated

painting and decorating Certa ProPainters franchises located throughout the United States and

Canada.

        24.     Admit

        25.     Deny; As the franchisor of independently owned and operated painting and

decorating Certa ProPainters franchises, Certa ProPainters Ltd. did not provide any “goods,”

“services,” or “building materials” to Plaintiff.

        26.     Deny; As the franchisor of independently owned and operated painting and

decorating Certa ProPainters franchises, Certa ProPainters Ltd. did not provide any “goods” or

“services” to Plaintiff.

        27.     Deny as to Certa ProPainters Ltd. which sells independently owned and operated

painting and decorating franchises but does not sell painting or decorating goods or services. Any

such goods or services are sold by individually owned and operated Certa ProPainters franchises.

        28.     Bunnell entered into a contract with Plaintiff to provide paint services; Plaintiff’s

statements concerning the type of contract is a legal conclusion that Certa Pro and Bunnell do not

need to admit or deny.

        29.     Plaintiff’s statement that the home improvements were performed at a residence

designated as a “homestead” is a legal conclusion that Certa Pro and Bunnell do not need to admit

or deny.

        Defendant John Bunnell Painting LLC

        30.     Admit

        31.     Admit
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       32.       Admit

       33.       Admit

       34.       Admit

       35.       Bunnell entered into a contract with Plaintiff to provide paint services; Plaintiff’s

statements concerning the type of contract is a legal conclusion that Certa Pro and Bunnell do not

need to admit or deny.

       36.       Bunnell entered into a contract with Plaintiff to provide paint services; Plaintiff’s

statements concerning the type of contract and type of residence are legal conclusions that Certa

Pro and Bunnell do not need to admit or deny.

                                   FACTUAL ALLEGATIONS

       37.       Certa Pro and Bunnell do not need to admit or deny ¶37.

       38.       Certa Pro and Bunnell admit that the parties entered into a contract. However,

Plaintiff’s statement that the home improvements were performed at a residence designated as a

“homestead” is a legal conclusion that Certa Pro and Bunnell do not need to admit or deny.

       39.       Admit

       40.       Admit that the contract does not include language regarding liens, consumer tights,

disclosures and notices. The remainder of the paragraph includes statements that are legal

conclusions that Certa Pro and Bunnell do not need to admit or deny.

       41.       Admit that the contract was not signed by Linda Ginac. The remainder of the

paragraph includes statements that are legal conclusions that Certa Pro and Bunnell do not need to

admit or deny.

       42.       Whether or not Plaintiff’s property is considered a “homestead” is a legal

conclusion that Certa Pro and Bunnell do not need to admit or deny.
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       43.    Plaintiff’s allegations regarding what is required by the Texas Property Code are

legal conclusions to which no response is necessary.

       44.    Deny

       45.    Deny

       46.    Deny

       47.    Deny

       48.    Certa Pro and Bunnell have insufficient information to admit or deny.

       49.    Certa Pro and Bunnell have insufficient information to admit or deny.

       50.    Certa Pro and Bunnell have insufficient information to admit or deny.

       51.    Certa Pro and Bunnell have insufficient information to admit or deny.

       52.    Certa Pro and Bunnell have insufficient information to admit or deny.

       53.    Certa Pro and Bunnell have insufficient information to admit or deny.

       54.    Certa Pro and Bunnell have insufficient information to admit or deny.

       55.    Certa Pro and Bunnell have insufficient information to admit or deny.

       56.    Certa Pro and Bunnell have insufficient information to admit or deny.

       57.    Certa Pro and Bunnell have insufficient information to admit or deny.

       58.    Certa Pro and Bunnell does not need to admit or deny.

       59.    Certa Pro and Bunnell have insufficient information to admit or deny.

       60.    Plaintiff’s allegations regarding 15 U.S.C. §1692(c) is a legal conclusion to which

no response is necessary.

       61.    Plaintiff’s allegations regarding 15 U.S.C. §1692(d) is a legal conclusion to which

no response is necessary.

       62.    Plaintiff’s allegations regarding 15 U.S.C. §1692(e) is a legal conclusion to which
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no response is necessary.

       63.     Plaintiff’s allegations regarding 15 U.S.C. §1692(f) is a legal conclusion to which

no response is necessary.

       64.     Plaintiff’s allegations regarding 15 U.S.C. §1692(g) is a legal conclusion to which

no response is necessary.

       65.     Plaintiff’s allegations regarding 15 U.S.C. §1692g(b) is a legal conclusion to which

no response is necessary.

       66.     Certa Pro and Bunnell have insufficient information to admit or deny.

       67.     Certa Pro and Bunnell does not need to admit or deny.

       68.     Plaintiff’s statement regarding Bond Requirements is a legal conclusion to which

no response is necessary.

       69.     Plaintiff’s statement regarding Harassment /Abuse is a legal conclusion to which

no response is necessary.

       70.     Certa Pro and Bunnell have insufficient information to admit or deny.

       71.     Certa Pro and Bunnell does not need to admit or deny.

       72.     Plaintiff’s statement regarding Section 17.46 of the Texas Business & Commerce

Code is a legal conclusion to which no response is necessary.

       73.     Plaintiff’s statement regarding Texas Property Code is a legal conclusion to which

no response is necessary.

       74.     Certa Pro admits that there was a contract between Plaintiff and Defendant; whether

or not Plaintiff’s property was designated as a “homestead” is a legal conclusion and Certa Pro

does not have sufficient information to admit or deny.

       75.     Admit
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       76.     Deny

       77.     Admit that the contract did not include warnings; deny remainder

       78.     Certa Pro does not have sufficient information to admit or deny.

       79.     Deny

       80.     Deny

       81.     Certa Pro and Bunnell does not need to admit or deny.

       82.     Plaintiff’s statement regarding Section 17.46 of the Texas Business & Commerce

Code is a legal conclusion to which no response is necessary.

       83.     Plaintiff’s statement regarding Texas Property Code is a legal conclusion to which

no response is necessary.

       84.     Bunnell admits that there was a contract between Plaintiff and Defendant; whether

or not Plaintiff’s property was designated as a “homestead” is a legal conclusion and Bunnell does

not have sufficient information to admit or deny.

       85.     Admit

       86.     Deny

       87.     Admit that the contract did not include warnings; deny remainder

       88.     Bunnell does not have sufficient information to admit or deny.

       89.     Deny

       90.     Deny

       91.     Certa Pro and Bunnell does not need to admit or deny.

                                 AFFIRMATIVE DEFENSES

       Pursuant to Rule 8 of the Federal Rules of Civil Procedure, Defendants hereby plead as

follows:
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       92.      Plaintiff failed to satisfy the conditions precedent under the DTPA

       93.      Plaintiff’s claims are barred, in whole or in part, by their failure to mitigate

damages.

       94.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

       95.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of equitable

estoppel.

       96.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of quasi-estoppel.

       97.      Certa Pro and Bunnell further plead that any alleged culpable conduct of

Defendants, none being admitted, was so insubstantial as to be insufficient to be a producing, or

substantial contributing cause of Plaintiff’s alleged damages.

                                          CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, CERTA PROPAINTERS LTD. D/B/A/

CERTAPRO PAINTERS D/B/A/ CERTAPRO PAINTERS OF AUSTIN and JOHN BUNNELL

PAINTING, LLC. respectfully request that this Court enter judgment denying Plaintiff the relief

he seeks and granting Certa Pro and Bunnell such other and further relief in law or equity as this

Court may find just and proper.
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                                                Respectfully submitted,


                                                THOMPSON, COE, COUSINS & IRONS, L.L.P.




                                                By:     _____________________________________
                                                      Jeff Otto
                                                      State Bar No. 15345500
                                                      Erika M. Laremont
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                                                ATTORNEYS FOR DEFENDANTS
                                                CERTA PROPAINTERS LTD. D/B/A/
                                                CERTAPRO PAINTERS D/B/A/ CERTAPRO
                                                PAINTERS OF AUSTIN and JOHN BUNNELL
                                                PAINTING, LLC.



                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 29, 2022, a true and correct copy of the

foregoing document was electronically filed with the Clerk of Court using the CM/ECF system which

sends notifications of such filings to all counsel of record.




                                                         Erika M. Laremont
